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                   EXHIBIT 2
                                                                        Case 1:21-cv-00751-DAE                                                                                                                                                                                   Document 257-3                Filed 11/18/24             Page 2 of 3


    From:                                                                                                                                                                                                                                             Campbell, Scott
    To:                                                                                                                                                                                                                                               Kevin Lavelle
    Cc:                                                                                                                                                                                                                                               Loseman, Monica K.; Dan Drosman; Rachel Jensen; Jeremy Daniels; Cox, Trey; Costa, Gregg J.; Turquet
                                                                                                                                                                                                                                                      Bravard, John L.; Marshall, Lloyd Steven; Megan Rossi; Heather Geiger; "Greene, Douglas W."
    Subject:                                                                                                                                                                                                                                          RE: Cassava
    Date:                                                                                                                                                                                                                                             Thursday, October 3, 2024 4:18:26 PM


EXTERNAL SENDER
Kevin,

I read questions 3, 4, and (2) as directed to Cassava, and have responded below. The remaining
items appear directed to Mr. Barbier and Dr. Burns.

Best,
Scott

Scott Campbell
Of Counsel

T: +1 303.298.5989 | M: +1 303.775.5547
SCampbell@gibsondunn.com


GIBSON DUNN
Gibson, Dunn & Crutcher LLP
‌1801 California Street Suite 4200, Denver, CO 80202-2642


From: Kevin Lavelle <KLavelle@rgrdlaw.com>
Sent: Tuesday, October 1, 2024 5:32 PM
To: Campbell, Scott <SCampbell@gibsondunn.com>
Cc: Loseman, Monica K. <MLoseman@gibsondunn.com>; Dan Drosman <DanD@rgrdlaw.com>;
Rachel Jensen <RachelJ@rgrdlaw.com>; Jeremy Daniels <JDaniels@rgrdlaw.com>; Cox, Trey
<TCox@gibsondunn.com>; Costa, Gregg J. <GCosta@gibsondunn.com>; Turquet Bravard, John L.
<JTurquetBravard@gibsondunn.com>; Marshall, Lloyd Steven <LMarshall@gibsondunn.com>;
Megan Rossi <MRossi@rgrdlaw.com>; Heather Geiger <HGeiger@rgrdlaw.com>; 'Greene, Douglas
W.' <dgreene@bakerlaw.com>
Subject: RE: Cassava
Doug and Scott, I am following up on my below email. Specifically: 1. Do we have consent from Mr. Barbier and Dr. Burns to file the joint motion? Please let us know by close of business tomorrow or we will note they take no position. 2. Please




Doug and Scott, I am following up on my below email. Specifically:

1. Do we have consent from Mr. Barbier and Dr. Burns to file the joint motion? Please let us know by
close of business tomorrow or we will note they take no position.

2. Please advise when Mr. Barbier will provide his updated interrogatory response.

3. Please explain why Dr. Burns and Cassava have been unable to locate and produce the May 14,
2020 un-blinding email, which we understand was sent from Dr. Burns’s Cassava email account.


                                                                                                                                                                                                                                                                                                1
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    As previously noted, this email from more than 4 years ago does not appear in Cassava’s files.
    Consistent with Judge Bemporad’s direction and October 1 Order, we will log documents
    received from the SEC for discussion at the next Status Conference.

4. Please let us know if Defendants and the directors intend on standing on their objections to
Plaintiffs’ July 19, 2024 document requests and subpoenas.

    I do not know what you mean by “stand on our objections.” We lodged objections, and believe
    you understand that the primary reason for us not responding is that these requests relate to
    allegations you have told us for months you intend to bring, but have not actually brought. You
    also indicated to Judge Bemporad that you intend to move to supplement your Complaint in the
    next 30 days. If you are successful in amending, we will certainly revisit our objections.

Separately, please let us know (1) if Mr. Barbier or Dr. Burns have received target letters from the
DOJ, or have otherwise been informed they are targets, or whether they have been informed they
are unlikely be to targets in the investigation; (2) when the documents that were removed from
Cassava’s final privilege log will be produced; We will produce these documents within a reasonable
time. I expect most or all will be produced within 10 business days. and (3) whether Mr. Barbier or
Dr. Burns will have their own privilege log in addition to Cassava’s.

Please provide a response on these remaining issues, other than on the joint motion in item one, by
close of business Thursday.

-Kevin



From: Kevin Lavelle
Sent: Friday, September 27, 2024 9:00 AM
To: 'Campbell, Scott' <SCampbell@gibsondunn.com>
Cc: Loseman, Monica K. <MLoseman@gibsondunn.com>; Dan Drosman <DanD@rgrdlaw.com>;
Rachel Jensen <RachelJ@rgrdlaw.com>; Jeremy Daniels <JDaniels@rgrdlaw.com>; Cox, Trey
<TCox@gibsondunn.com>; Costa, Gregg J. <GCosta@gibsondunn.com>; Turquet Bravard, John L.
<JTurquetBravard@gibsondunn.com>; Marshall, Lloyd Steven <LMarshall@gibsondunn.com>;
Megan Rossi <MRossi@rgrdlaw.com>; Heather Geiger <HGeiger@rgrdlaw.com>; Greene, Douglas
W. <dgreene@bakerlaw.com>
Subject: RE: Cassava

Doug,

Please confirm we have your consent to file the joint motion for the Swedish depositions.

Scott,

Following-up on our call yesterday and your prior email, please see our responses below.


                                                  2
